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COUNSEL FOR AMERICREDIT FINANCIAL
SERVICES, INC., DOING BUSINESS AS
GM FINANCIAL

                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

IN RE:                                *
                                       *
                             1
REAGOR-DYKES MOTORS, LP                *       CASE NO. 18-50214-rlj-11
                                       *       (Jointly Administered)
      Debtor                          *
******************************************************************************
        AMERICREDIT FINANCIAL SERVICES, INC. D/B/A/ GM FINANCIAL’ S
         REPORT REGARDING NEW VEHICLES TAKEN INTO POSSESSION

        AmeriCredit Financial Services, Inc. doing business as GM Financial (“GM Financial”)

files this initial report identifying the vehicles, by vehicle make, model, year and vehicle




1
  The Debtors are Reagor-Dykes Motors, LP (Case No. 18-50214), Reagor-Dykes Imports, LP (Case No. 18-50215),
Reagor-Dykes Amarillo, LP (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-
Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes Snyder,
L.P. (Case No. 18-50321), Reagor Dykes III LLC (Case No. 18-50322), Reagor-Dykes II LLC (Case No. 18-50323),
Reagor-Dykes Auto Mall, Ltd. (Case No. 18-50324) and Reagor-Dykes Auto Mall I LLC (Case No. 18-50325).

________________________________________________________________________________________________________
                     AMERICREDIT FINANCIAL SERVICES, INC., DOING BUSINESS AS GM FINANCIAL’S
                            REPORT REGARDING NEW VEHICLES TAKEN INTO POSSESSION
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identification number, which GM Financial has taken into possession. The vehicles taken into GM

Financial’s possession are set forth on the attached Exhibit “A,” all of which were “new” vehicles.

                                                Respectfully submitted:


                                                  /s/ Stephen P. Strohschein
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                                                ATTORNEYS FOR AMERICREDIT FINANCIAL SERVICES,
                                                INC., DOING BUSINESS AS GM FINANCIAL




________________________________________________________________________________________________________
                     AMERICREDIT FINANCIAL SERVICES, INC., DOING BUSINESS AS GM FINANCIAL’S
                            REPORT REGARDING NEW VEHICLES TAKEN INTO POSSESSION
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